Case: 1:17-md-02804-DAP Doc #: 1887-4 Filed: 07/19/19 1 of 5. PageID #: 66476




                 EXHIBIT B
Case: 1:17-md-02804-DAP Doc #: 1887-4 Filed: 07/19/19 2 of 5. PageID #: 66477
Case: 1:17-md-02804-DAP Doc #: 1887-4 Filed: 07/19/19 3 of 5. PageID #: 66478
Case: 1:17-md-02804-DAP Doc #: 1887-4 Filed: 07/19/19 4 of 5. PageID #: 66479
Case: 1:17-md-02804-DAP Doc #: 1887-4 Filed: 07/19/19 5 of 5. PageID #: 66480
